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PACHULSKI STANG ZIEHL & JONES LLP
Jeffrey N. Pomerantz (CA Bar No.143717) (admitted pro hac vice)
Ira D. Kharasch (CA Bar No. 109084) (admitted pro hac vice)
John A. Morris (NY Bar No. 2405397) (admitted pro hac vice)
Gregory V. Demo (NY Bar No. 5371992) (admitted pro hac vice)
Hayley R. Winograd (NY Bar No. 5612569) (admitted pro hac vice)
10100 Santa Monica Blvd., 13th Floor
Los Angeles, CA 90067
Telephone: (310) 277-6910
Facsimile: (310) 201-0760

HAYWARD PLLC
Melissa S. Hayward
Texas Bar No. 24044908
MHayward@HaywardFirm.com
Zachery Z. Annable
Texas Bar No. 24053075
ZAnnable@HaywardFirm.com
10501 N. Central Expy, Ste. 106
Dallas, Texas 75231
Tel: (972) 755-7100
Fax: (972) 755-7110
Counsel for Highland Capital Management, L.P.
                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION
                                                             §
In re:
                                                             §   Chapter 11
                                                             §
HIGHLAND CAPITAL MANAGEMENT, L.P., 1
                                                             §   Case No. 19-34054-sgj11
                                                             §
                                 Debtor.
                                                             §
                                                             §
HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                             §
                                                             §   Adversary Proceeding No.
                                 Plaintiff,
                                                             §
vs.                                                          §   21-03000-sgj
                                                             §
                                                             §
HIGHLAND CAPITAL MANAGEMENT FUND
ADVISORS, L.P., NEXPOINT ADVISORS, L.P.,                     §

1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


SECOND AMENDED WITNESS AND EXHIBIT LIST FOR HEARING ON FEBRUARY 5, 2021                         PAGE 1 OF 11
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 HIGHLAND INCOME FUND, NEXPOINT                             §
 STRATEGIC OPPORTUNITIES FUND,                              §
 NEXPOINT CAPITAL, INC., AND CLO                            §
 HOLDCO, LTD,                                               §
                       Defendants.                          §

 DEBTOR’S SECOND AMENDED WITNESS AND EXHIBIT LIST WITH RESPECT TO
        EVIDENTIARY HEARING TO BE HELD ON FEBRUARY 5, 2021

          Highland Capital Management, L.P. (the “Debtor”) submits the following amended

 witness and exhibit list with respect to Plaintiff’s Emergency Motion for a Temporary

 Restraining Order and Preliminary Injunction against Certain Entities Owned and/or Controlled

 by Mr. James Dondero [Docket No. 5] which the Court has set for hearing at 9:30 a.m. (Central

 Time) on February 5, 2021 (the “Hearing”) in the above-styled adversary proceeding (the

 “Adversary Proceeding”).

          A.      Witnesses:

                  1.         James Dondero;

                  2.         James P. Seery, Jr.;

                  3.         Grant Scott;

                  4.         Jason Post;

                  5.         Any witness identified by or called by any other party; and

                  6.         Any witness necessary for rebuttal.

          B.      Exhibits:

Letter                                         Exhibit                                Offered       Admitted

                Motion for Order Imposing Temporary Restrictions on
A.              Debtor’s Ability, as Portfolio Manager, to Initiate Sales by
                Non-Debtor CLO Vehicles [Docket No. 1528]

B.              Transcript of 12/16/20 Hearing




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 Letter                                     Exhibit                               Offered   Admitted

                 Order Denying Motion for Order Imposing Temporary
C.               Restrictions on Debtor’s Ability, as Portfolio Manager, to
                 Initiate Sales by Non-Debtor CLO Vehicles [dkt 1605]

D.               Email from James Romey dated September 29, 2020

                 Structural and Steel Products UCC Presentation dated
E.
                 September 29, 2020
                 Aberdeen Loan Funding Offering Memorandum dated as of
F.
                 March 27, 2008

G.               Aberdeen Loan Funding Indenture dated as of March 27, 2008

                 Aberdeen Loan Funding Supplemental Indenture No. 1 dated
H.
                 as of March 27, 2008
                 Aberdeen Loan Funding Preference Shares Paying Agency
I.
                 Agreement dated as of March 27, 2008
                 Aberdeen Loan Funding Servicing Agreement dated as of March
J.
                 27, 2008
                 Brentwood CLO Offering Memorandum dated as of December
K.
                 18, 2006

L.               Brentwood CLO Indenture dated as of December 21, 2006

                 Brentwood CLO Preference Shares Paying Agency Agreement
M.
                 Dated as of December 21, 2006
                 Brentwood CLO Servicing Agreement dated as of December 21,
N.
                 2006
                 Eastland CLO Offering Memorandum dated as of March 13,
O.
                 2007

P.               Eastland CLO Indenture dated as of March 13, 2007

                 Eastland CLO Preference Shares Paying Agency Agreement
Q.
                 Dated as of March 13 2007

R.               Eastland CLO Servicing Agreement dated as of March 13, 2007




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Letter                                    Exhibit                               Offered   Admitted

                Gleneagles CLO Offering Memorandum dated as of October
S.
                7, 2005

T.              Gleneagles CLO Indenture dated as of October 13, 2005

                Gleneagles CLO Portfolio Management Agreement dated as of
U.
                October 13, 2005
                Gleneagles CLO Preference Shares Paying Agency Agreement
V.
                Dated as of October 13, 2005
                Grayson CLO Offering Memorandum dated as of November
W.
                28, 2006

X.              Grayson CLO Indenture dated as of November 30, 2006

                Grayson CLO Preference Shares Paying Agency Agreement
Y.
                dated as of November 30, 2006
                Grayson CLO Servicing Agreement dated as of November 30,
Z.
                2006
                Grayson CLO Amendment No. 1 to Servicing Agreement dated
AA.
                as of October 2, 2007
                Greenbriar CLO Offering Memorandum dated as of December
BB.
                18, 2007

CC.             Greenbriar CLO Indenture dated as of December 20, 2007

                Greenbriar CLO Preference Shares Paying Agency Agreement
DD.
                Dated as of December 20, 2007
                Greenbriar CLO Servicing Agreement dated as of December 20,
EE.
                2007

FF.             Jasper CLO Offering Memorandum dated as of June 27, 2005

                Jasper CLO Amended and Restated Portfolio Management
GG.
                Agreement dated as of November 30, 2005

HH.             Jasper CLO Indenture dated as of June 29, 2005




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 Letter                                  Exhibit                               Offered   Admitted

                Jasper CLO Preference Shares Paying Agency Agreement
II.
                dated as of June 29,2005
                Liberty CLO Offering Memorandum dated as of December 7,
JJ.
                2005

KK.             Liberty CLO Indenture dated as of December 8, 2005

                Liberty CLO Class E Certificate Paying Agency Agreement
LL.
                dated as of December 8, 2005
                Liberty CLO Portfolio Management Agreement dated as of
MM.
                December 8, 2005
                Red River CLO Offering Memorandum dated as of July 31,
NN.
                2006

OO.             Red River CLO Indenture dated as of August 3, 2006

                Red River CLO Amendment No. 1 to Indenture dated as of
PP.
                October 2, 2007
                Red River CLO Preference Shares Paying Agency Agreement
QQ.
                dated as of August 3, 2006
                Red River CLO Servicing Agreement dated as of August 3,
RR.
                2006
                Red River CLO Amendment No. 1 to Servicing Agreement
SS.
                dated as of October 2, 2007

TT.             Rockwall CLO Offering Circular (Notes) dated May 8, 2006

                Rockwall CLO Offering Circular (Preferred Share) dated May
UU.
                8, 2006

VV.             Rockwall CLO Indenture dated as of May 10, 2006

                Rockwall CLO Amendment No. 1 to Indenture dated as of
WW.
                October 2, 2007
                Rockwall CLO Preference Shares Paying and Agency
XX.
                Agreement dated as of May 10, 2006




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 Letter                                    Exhibit                               Offered   Admitted


YY.             Rockwall CLO Servicing Agreement dated as of May 10, 2006

                Rockwall CLO Amendment No. 1 to Servicing Agreement
ZZ.
                dated as of October 2, 2007

AAA.            Rockwall CLO II Offering Circular (Notes) dated May 8, 2007

                Rockwall CLO II Offering Circular (Preferred Share) dated
BBB.
                May 8, 2007

CCC.            Rockwall CLO II Indenture dated as of May 9, 2007

                Rockwall CLO II Preference Shares Paying and Agency
DDD.
                Agreement dated as of May 9, 2007
                Rockwall CLO II Servicing Agreement dated as of May 9,
EEE.
                2007
                Southfork CLO Offering Memorandum dated as of March 9,
FFF.
                2005

GGG.            Southfork CLO Indenture dated as of March 15, 2005

                Southfork CLO Portfolio Management Agreement dated as of
HHH.
                March 15, 2005
                Southfork CLO Preference Shares Paying Agency Agreement
III.
                dated as of March 15, 2005

                Stratford CLO Offering Memorandum dated as of October 22,
JJJ.
                2007

KKK.            Stratford CLO Indenture dated as of October 25, 2007

                Stratford CLO Preference Shares Paying and Agency
LLL.
                Agreement dated as of October 25, 2007
                Stratford CLO Servicing Agreement dated as of October 25,
MMM.
                2007

NNN.            Valhalla CLO Offering Circular dated as of August 17, 2004




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Letter                                      Exhibit                               Offered   Admitted


OOO.            Valhalla CLO Indenture dated as of August 18, 2004

                Valhalla CLO Supplemental Indenture dated as of July 25,
PPP.
                2016
                Valhalla CLO Reference Portfolio Management Agreement
QQQ.
                dated as of August 1, 2016
                Westchester CLO Offering Memorandum dated as of May 30,
RRR.
                2007

SSS.            Westchester CLO Indenture dated as of May 31, 2007

                Westchester CLO Preference Shares Paying Agency
TTT.
                Agreement dated as of May31,2007
                Westchester CLO Servicing Agreement dated as of May 31,
UUU.
                2007
                NexPoint Strategic Opportunities Fund, Form N-2 Registration
VVV.
                Statement, filed August 27, 2019
                NexPoint Strategic Opportunities Fund, Form DEF-14A Proxy
WWW.
                Statement, filed July 10, 2020
                NexPoint Capital, Inc., Form 497 Prospectus Supplement, filed
XXX.
                March 14, 2018
                NexPoint Capital, Inc. Form DEF-14A Proxy Statement, filed
YYY.
                April 22, 2020
                Highland Income Fund, Form 497 Prospectus Supplement,
ZZZ.
                filed July 29, 2019
                Highland Income Fund, Form DEF-14A Proxy Statement,
AAAA.
                filed April 22, 2020
                Written Consent of the General Partner of Highland Capital
BBBB.
                Management, L.P., Effective September 21, 2020

CCCC.           List of Board Memberships

                Response to K&L Gates LLP dated December 22, 2020
DDDD.           [Dondero Deposition Exhibit 12] [Grant Scott Deposition
                Exhibit 3]



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 Letter                                   Exhibit                               Offered   Admitted

                Response to K&L Gates LLP dated December 23, 2020
EEEE.           [Dondero Deposition Exhibit 13] [Grant Scott Deposition
                Exhibit 4]
                Letter from K&L Gates to J. Pomerantz dated December 31,
FFFF.
                2020 [Grant Scott Deposition Exhibit 5]
                Response to Letter from K&L Gates to J. Pomerantz dated
GGGG.
                December 31, 2020
                Highland CLO Funding Articles of Incorporation [TO BE
HHHH.
                OFFERED UNDER SEAL]
                Highland CLO Funding Members Agreement [TO BE
IIII.
                OFFERED UNDER SEAL]
                Highland CLO Funding Offering Memorandum [TO BE
JJJJ.
                OFFERED UNDER SEAL]
                Highland CLO Funding Portfolio Management Agreement
KKKK.
                [TO BE OFFERED UNDER SEAL]
                Highland CLO Funding Subscription and Transfer Agreement
LLLL.
                [TO BE OFFERED UNDER SEAL]

MMMM.           Declaration of Dustin Norris [Docket No. 1522-1]


NNNN.           Transcript of 01/08/21 Hearing

                Order Approving Settlement with Official Committee of
                Unsecured Creditors Regarding Governance of the Debtor and
OOOO.
                Procedures for Operations in the Ordinary Course [Docket No.
                339]

PPPP.           Written Resolutions of Charitable DAF GP, LLC


QQQQ.           Written Resolutions of Charitable DAF Holdco, Ltd

                Highland Dallas Foundation - Unanimous Written Consent
RRRR.
                [Grant Scott Deposition Exhibit 2]

SSSS.           Donative Assignment of Interests


TTTT.           Email string dated December 23, 2020 re Dondero call



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 Letter                                   Exhibit                               Offered   Admitted

                Highland CLO HoldCo Org Chart [Grant Scott Deposition
UUUU.
                Exhibit 1]

VVVV.           Seery Handwritten Notes


WWWW.           Dondero text to Seery

                Temporary Restraining Order Against Dondero [Adv. Proc.
XXXX.
                No. 20-3190, Docket No. 10]
                Plaintiff’s Motion for Contempt [Adv. Proc. No. 20-3190,
YYYY.
                Docket No. 48]
                Dondero Preliminary Injunction Order [Adv. Proc. No. 20-
ZZZZ.
                3190, Docket No. 59]

AAAAA.          Transcript of 12/10/20 Hearing


BBBBB.          AVYA Stock Price Data


CCCCC.          SKY Stock Price Data


DDDDD.          HCMLP - Previous Day Trades 01/29/20 [REDACTED]


EEEEE.          HCMLP - Previous Day Trades 02/10/20 [REDACTED]


FFFFF.          HCMLP - Previous Day Trades 02/14/20 [REDACTED]


GGGGG.          HCMLP - Previous Day Trades 04/15/20 [REDACTED]


HHHHH.          HCMLP - Previous Day Trades 04/17/20 [REDACTED]


IIIII.          HCMLP - Previous Day Trades 08/27/20 [REDACTED]


JJJJJ.          HCMLP - Previous Day Trades 09/02/20 [REDACTED]




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Letter                                     Exhibit                               Offered    Admitted


KKKKK.          HCMLP - Previous Day Trades 10/07/20 [REDACTED]


LLLLL.          HCMLP - Previous Day Trades 10/08/20 [REDACTED]


MMMMM.          HCMLP - Previous Day Trades 10/09/20 [REDACTED]


NNNNN.          HCMLP - Previous Day Trades 11/24/20 [REDACTED]


OOOOO.          Jefferies Trade Confirmations 12/18/20


PPPPP.          Jefferies Trade Confirmations 12/21/20


QQQQQ.          Jefferies Trade Confirmations 12/22/20


RRRRR.          Jefferies Trade Confirmations 12/30/20


SSSSS.          Jefferies Trade Confirmations 12/31/20

       Letter from Pachulski Stang Ziehl & Jones LLP to D. Michael
TTTTT. Lynn dated December 23, 2020 [Dondero Deposition Exhibit
       10; Trial Exhibit K]
       Letter from NexPoint Advisors, L.P. and Highland Capital
       Management Fund Advisors, L.P to James Seery dated
UUUUU.
       October 16, 2020 [Dondero Deposition Exhibit 1; Dondero
       Trial Exhibit B]
       Letter from NexPoint Advisors, L.P. and Highland Capital
       Management Fund Advisors, L.P to James Seery dated
VVVVV.
       November 24, 2020 [Dondero Deposition Exhibit 2; Dondero
       Trial Exhibit C]
       Email string dated between November 24, 2020 and November
WWWWW. 27, 2020 re SKY equity [Dondero Deposition Exhibit 3;
       Dondero Trial Exhibit D]
                Any document entered or filed in the Adversary Proceeding,
XXXXX.
                including any exhibits thereto
                Any document entered or filed in the Debtor’s chapter 11
YYYYY.
                bankruptcy case, including any exhibits thereto



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Letter                                      Exhibit                                Offered    Admitted

                All exhibits necessary for impeachment and/or rebuttal
ZZZZZ.
                purposes
                All exhibits identified by or offered by any other party at the
AAAAAA.
                Hearing



Dated: February 1, 2021.                        PACHULSKI STANG ZIEHL & JONES LLP

                                               Jeffrey N. Pomerantz (CA Bar No.143717)
                                               Ira D. Kharasch (CA Bar No. 109084)
                                               John A. Morris (NY Bar No. 2405397)
                                               Gregory V. Demo (NY Bar 5371992)
                                               Hayley R. Winograd (NY Bar No. 5612569)
                                               10100 Santa Monica Blvd., 13th Floor
                                               Los Angeles, CA 90067
                                               Telephone: (310) 277-6910
                                               Facsimile: (310) 201-0760
                                               E-mail:    jpomerantz@pszjlaw.com
                                                          ikharasch@pszjlaw.com
                                                          jmorris@pszjlaw.com
                                                          gdemo@pszjlaw.com


                                               -and-

                                               HAYWARD PLLC

                                               /s/ Zachery Z. Annable
                                               Melissa S. Hayward
                                               Texas Bar No. 24044908
                                               MHayward@HaywardFirm.com
                                               Zachery Z. Annable
                                               Texas Bar No. 24053075
                                               ZAnnable@HaywardFirm.com
                                               10501 N. Central Expy, Ste. 106
                                               Dallas, Texas 75231
                                               Tel: (972) 755-7100
                                               Fax: (972) 755-7110

                                              Counsel for Highland Capital Management, L.P.




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